Case 2:05-cr-00107   Document 1229   Filed 03/22/10   Page 1 of 17 PageID #: 23711



                        UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT CHARLESTON



UNITED STATES OF AMERICA


v.                                   CRIMINAL ACTION NO. 2:05-00107-01


GEORGE LECCO



                        MEMORANDUM OPINION AND ORDER


             Pending are defendant’s (1) motion for an exception

from an anticipated request for sequestration, filed December 14,

2009, (2) motion in limine concerning Patricia Burton, filed

October 11, 2009, with counsel given leave to submit supplemental

briefs until December 11, 2009, (3) motion in limine as to verbal

exchanges, filed November 23, 2009, (4) motion in limine to bar

the United States from presenting factually inconsistent

theories, filed November 24, 2009, and (5) motion for in camera

review of records relating to Valeri Friend, filed February 12,

2010.    Also pending is the United States' motion in limine to

exclude any testimony by a subpoenaed Assistant United States

Attorney and the Federal Public Defender, filed February 9, 2010.


             The motion for an exception from an anticipated request

for sequestration seeks permission for a defense investigator,

Julianne Cuneo, to remain seated at the defense counsel table
Case 2:05-cr-00107   Document 1229   Filed 03/22/10    Page 2 of 17 PageID #: 23712



throughout trial.      Counsel asserts that Ms. Cuneo’s presence “is

essential in order to assist counsel in the orderly presentation

of a large number of witnesses and voluminous documentary

evidence.”     (Mot. at 2).    The United States does not oppose the

motion.    Additionally, Ms. Cuneo agrees that she will not share

witness testimony with any other person.              The court, accordingly,

ORDERS that the motion for an exception from an anticipated

request for sequestration be, and it hereby is, granted.



                                      I.



A.    Motion in Limine Concerning Patricia Burton



             The motion in limine concerning Patricia Burton has

several components.       Regarding the request found therein that the

United States be barred from eliciting testimony lacking a proper

foundation, the parties are aware of their obligations under the

Federal Rules of Evidence.       The remedy for a deviation therefrom

is a timely objection and, if necessary, a motion to strike.

Regarding the request that the United States advise Burton and

Carmella Blankenship to limit their responses to questions asked

of them, the United States has apparently done so with respect to

Burton and will, presumably, do likewise with Ms. Blankenship.



                                       2
Case 2:05-cr-00107   Document 1229   Filed 03/22/10   Page 3 of 17 PageID #: 23713



Regarding the request that the United States tape record any

further interviews with Burton, the request appears to intrude

upon the work product privilege, defendant has offered no

authority supporting the request, and the relief sought does not

appear to be appropriate.


             Regarding the final request found in the motion,

namely, to bar Burton’s testimony altogether, defendant has not

made the showing necessary to justify an exclusion order.                See

Fed. R. Crim. Proc. 601 and Advis. Comm. Notes; 3 Christopher B.

Mueller & Laird C. Kirkpatrick, Federal Evidence § 233 (2d ed.

2006); Steven Goode & Olin Guy Wellborn, Courtroom Handbook Fed.

Evid. § 601 (2007); 148 A.L.R. 1140 (1944 and supp. 2007); United

States v. Whittington, 26 F.3d 456, 466 (4th Cir. 1994); United

States v. Lightly, 677 F.2d 1027, 1028 (4th Cir. 1982); Lockard

v. Parker, 164 F.2d 804, 805 (4th Cir.           1947).    Based upon the

foregoing, it is ORDERED that the motion in limine concerning

Burton be, and it hereby is, denied.



B.    Motion in Limine As To Verbal Exchanges



             Regarding the motion in limine as to verbal exchanges,

defendant first asserts that the United States should be

prohibited from introducing any evidence concerning the victim


                                       3
Case 2:05-cr-00107   Document 1229   Filed 03/22/10   Page 4 of 17 PageID #: 23714



praying during the killing, (2) her relationship to God or Jesus,

or her children, and (3) any other “taunting or abusive

comments.”     (Mot. at 1).    The United States responds that it does

not intend to introduce in its case in chief any such

statements.1     Defendant, however, further seeks to bar any

evidence concerning certain statements made by Valeri Friend at

her September 29, 2009, debriefing.          At the debriefing, Friend

noted that, during the murder, the victim inquired why she had

been shot.     Friend recounted that “Burton responded that Lecco

wanted it [(‘the first statement’)].”           (Debrief. at 5).       Friend

then further told of the following additional exchange:

           Friend stated that Burton then asked Collins how
      law enforcement knew Lecco was still dealing cocaine
      and had firearms. Friend said that Burton told Collins
      that they were the only two who knew that information
      and she (Burton) had not told on Lecco, therefore
      Collins must have.

(Id. (“the second statement”)).

             Federal Rule of Evidence 801(d)(2)(E), provides that a

statement does not constitute hearsay if it is “a statement by a

coconspirator of a party during the course and in furtherance of

the conspiracy . . . .”       F.R.E. 801(d)(2)(E).        In United States

v. Smith, 441 F.3d 254 (4th Cir. 2006), the court of appeals



      1
      If the United States proposes to use any of the statements
for impeachment purposes, it should first approach the bench.

                                       4
Case 2:05-cr-00107   Document 1229   Filed 03/22/10   Page 5 of 17 PageID #: 23715



observed as follows:

      “To admit testimony under this rule, a court must
      conclude (1) that there was a conspiracy involving the
      declarant and the party against whom admission of the
      evidence is sought and (2) that the statements at issue
      were made during the course of and in furtherance of
      that conspiracy.”

Id. at 261 (quoting United States v. Neal, 78 F.3d 901, 905 (4th

Cir. 1996) (internal quotation marks omitted)).              The decision in

Smith offers further guidance in determining if a statement was

made in furtherance of the conspiracy:

      “A statement by a co-conspirator is made ‘in
      furtherance’ of a conspiracy if it was intended to
      promote the conspiracy's objectives, whether or not it
      actually has that effect.” U.S. v. Shores, 33 F.3d
      438, 443 (4th Cir.1994). For example, statements made
      by a conspirator to a non-member of the conspiracy are
      considered to be “in furtherance” of the conspiracy “if
      they are designed to induce that party either to join
      the conspiracy or to act in a way that will assist it
      in accomplishing its objectives.” Id. at 444. Most
      courts, including the Fourth Circuit, “construe the in
      furtherance requirement so broadly that even casual
      relationships to the conspiracy suffice to satisfy the
      exception.” Jack B. Weinstein & Margaret A. Berger,
      Weinstein's Federal Evidence vol. 5, §§ 801.34[5],
      801-89 (Joseph M. McLaughlin ed., 2d ed., Matthew
      Bender 2005).

Id. at 262.


             Defendant asserts that neither the first nor second

statements were made in furtherance of the conspiracy.               Regarding

the first statement, he asserts the lack of furtherance is

illustrated by the fact that, at the time the statement was made,



                                       5
Case 2:05-cr-00107   Document 1229   Filed 03/22/10   Page 6 of 17 PageID #: 23716



“Collins had already been shot and the murder was well underway.

At that point, it promoted the objects of the conspiracy not at

all for Collins to be told why this was happening.”2              (Mot. at

8).   Regarding the second statement, defendant asserts that

instead of it being said in furtherance of the conspiracy, “it

simply advanced some personal agenda of Burton or Friend,

depending on who actually said it, to rub Collins’ face in the

allegation that Lecco was behind it.”           (Id.)


              The United States responds that “informing Collins why

and on whose order she was to be murdered, while the murderers

were in the throes of the act, was part of the retaliation,

effectively rubbing psychological salt into the already inflicted

physical wounds.”      (Resp. at 6).       The United States additionally


      2
          Defendant additionally asserts as follows:

      Moreover, the result would be no different if the
      government were to offer Burton’s testimony that Friend
      told Collins, when she shot her, that “Porgy sent me to
      do this.” (Attachment 5, TR 19). Thus, regardless of
      whether Lecco’s alleged statement to Burton that he
      “wanted it,” would be admissible if Burton or Friend
      were to testify to the statement being made in another
      context, it is not admissible coming from Friend or
      Burton in the context of the verbal exchanges at the
      trailer at Double Camp.

(Mot. at 8). The referenced attachment is a transcribed
statement from Burton attesting to a statement from Friend to
Collins that “Porgy sent me to do this.” It is unclear if the
United States intends to offer the statement by Friend attributed
to her by Burton.

                                       6
Case 2:05-cr-00107   Document 1229   Filed 03/22/10   Page 7 of 17 PageID #: 23717



notes that the victim was still alive when the statements were

uttered and that the first and second statements furthered the

conspiracy by making Collins suffer as a result of her law

enforcement cooperation.


             In Smith, the court of appeals observed that the in

furtherance requirement is construed so broadly that even a

casual relationship of the statement to the conspiracy will

result in a finding of admissibility.           The decision in Smith

further noted that the statement need only be intended to promote

conspiracy objectives, whether it did or did not actually do so.

The defendant’s arguments against admissibility draw the

exception too narrowly.


             In addition to the United States’ well-taken

contentions advocating admissibility, the two statements uttered

by Burton had an additional effect.          They conveyed to Friend, a

fellow conspirator, the penalty for doing anything that might

hinder advancement of the conspiracy’s objectives.3              The court,



      3
      The timing consideration identified by defendant is of
little moment. See United States v. Howard, 115 F.3d 1151, (4th
Cir. 1997) (noting the discussions of two jailed co-conspirators
about a conspiracy operating beyond the prison walls was
admissible despite the fact the individuals were in custody given
that the discussions “plainly dealt with what was currently
transpiring in the conspiracy.”).

                                       7
Case 2:05-cr-00107   Document 1229   Filed 03/22/10   Page 8 of 17 PageID #: 23718



accordingly, ORDERS that the motion in limine as to verbal

exchanges be, and it hereby is, denied.4



C.    Motion in Limine to Bar the United States from Presenting
      Factually Inconsistent Theories


             Defendant notes the many, somewhat varying accounts

that have been given by Burton, Friend, and Blankenship

concerning the details surrounding the victim’s murder.                Some of

these varying accounts are as follows:



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      Defendant also appears to object based upon Rules 401 and
403. As noted by the United States, the first and second
statements directly support the witness tampering and retaliation
counts in the Fourth Superseding Indictment inasmuch as they tend
to prove the identity of the assailant and the motive for the
murder. The statements also tend to support, circumstantially at
least, the cocaine conspiracy charge, the substantive cocaine
charges, and the firearm charges found in the Fourth Superseding
Indictment. The probative value of the statements in relation to
these charges is also not substantially outweighed by any
prejudicial effect.
     The court also declines defendant’s request to schedule an
evidentiary hearing to ascertain the exact testimony that either
Friend or Burton might offer in this area:

      Appellants, relying on the Fifth Circuit decision in
      United States v. James, 590 F.2d 575 (5th Cir.), cert.
      denied, 442 U.S. 917, 99 S.Ct. 2836, 61 L.Ed.2d 283
      (1979), argue that it was error for the trial court
      here not to hold a hearing to determine the existence
      of the conspiracy before any of the co-conspirator
      statements were admitted in the case-in-chief. This
      court, however, does not require the James hearing.

United States v. Hines, 717 F.2d 1481, 1488 (4th Cir. 1983).

                                       8
Case 2:05-cr-00107   Document 1229   Filed 03/22/10   Page 9 of 17 PageID #: 23719



      •      June 27, 2005: Burton notified the Federal Bureau of
             Investigation that Friend murdered the victim;

      •      June 28, 2005: Burton told other law enforcement agents
             that she had witnessed Friend shoot the victim and
             strike her with a rock.

      •      July 7, 2005: Burton’s attorney proffered to law
             enforcement Burton’s statement that defendant had
             killed the victim with Burton, Friend, and Blankenship
             present.

      •      July 12, 2005: Blankenship testified before a federal
             grand jury that Lecco was not present at the murder
             scene.

      •      Burton’s grand jury testimony, on a date unknown,
             stated that Friend committed the murder but that Lecco
             was present.

      •      Burton’s grand jury testimony reflects as well that she
             told Blankenship that she (Burton) struck the victim’s
             face with a rock.


             Defendant observes correctly that “the government’s

fundamental interest in criminal prosecution [is] ‘not that it

shall win a case, but that justice shall be done.’” Smith v.

Groose, 205 F.3d 1045, 1049 (8th Cir. 2000).             From that premise,

he asserts that reliance upon more than one of the aforementioned

factual accounts amounts to the knowing use of false testimony in

violation of the Due Process Clause.


             The cases cited by defendant all involve a different

scenario, namely, the use of contradictory theories of guilt in

two separate trials to convict two separate defendants of the

                                       9
Case 2:05-cr-00107   Document 1229   Filed 03/22/10   Page 10 of 17 PageID #: 23720



 same offense.       See, e.g., Smith, 205 F.3d at 1049 (finding due

 process violation in convicting defendant with one of a

 codefendant's two factually contradictory versions of events

 surrounding murders then relying upon the other version at a

 later trial to convict someone else of same murders).


             As noted by the United States, the circumstances in

 this action involve a single defendant against whom multiple

 witnesses will testify in a single trial with somewhat varying

 accounts.    Controlling precedent discloses no due process

 violation.     See, e.g., United States v. Griley, 814 F.2d 967, 971

 (4th Cir. 1987) (“Mere inconsistencies in testimony by government

 witnesses do not establish the government's knowing use of false

 testimony.”); United States v. Orrego-Martinez, 575 F.3d 1, 9

 (1st Cir. 2009) (“Simply because there exist[ ] inconsistencies

 between [a witness's] grand jury and trial testimony does not

 warrant the inference that the government knowingly introduced

 perjurious testimony.”)(internal quotation marks and citations

 omitted).


             The court, accordingly, ORDERS that the motion in

 limine to bar the United States from offering what amounts to the

 testimony of witnesses who give varying accounts of a given event

 be, and it hereby is, denied.

                                       10
Case 2:05-cr-00107   Document 1229   Filed 03/22/10   Page 11 of 17 PageID #: 23721



 D.    Motion for In Camera Review of Records Relating to Valeri
       Friend



             On January 26, 2010, the United States informed

 defendant that it possessed copies of various records previously

 provided to it by Friend during the penalty phase of the May 2007

 trial.    The records putatively deal with various aspects of

 Friend’s history and include medical, psychiatric, and substance

 abuse records.      The United States indicated its belief that it

 was required to turn over at least some of these records in

 satisfaction of its discovery obligations and to make the

 remainder of the documents available for review by defendant.


             On February 8, 2010, counsel for Friend objected to the

 proposed disclosure in a brief letter, without citation to any

 authority, addressed to counsel for the United States and copied

 to the court and defense counsel.          In the instant motion,

 defendant asserts as follows:

            If defendant makes a colorable claim that
       requested information is exculpatory, but the Court is
       unable to ascertain the character of the evidence, the
       Court may conduct an in camera review of the evidence
       to determine whether it is exculpatory and should be
       disclosed. Pennsylvania v. Ritchie, 480 U.S. 39, 107
       S.Ct. 989, 94 L.Ed.2d 40 (1987).

            The privacy rights of Ms. Friend, as they pertain
       to the records at issue, have already been
       substantially compromised by previous disclosure to the

                                       11
Case 2:05-cr-00107   Document 1229   Filed 03/22/10   Page 12 of 17 PageID #: 23722



       government. An in camera review by the Court will
       confirm the government’s reasonable belief that these
       records of Ms. Friend are exculpatory to the defendant
       and should be disclosed. As a result, the defendant’s
       constitutional right to present a defense should trump
       the limited privacy rights Ms. Friend presently holds.

            The government, represented by Assistant United
       States Attorneys R. Gregory McVey, does not oppose the
       instant motion.

            WHEREFORE, based on the foregoing, the Court is
       respectfully requested to conduct an in camera review
       of various records pertaining to . . . Friend that are
       currently in the custody and control of the government.
       Should the Court determine that these records are, in
       fact, exculpatory, then further disclosure to the
       defendant is appropriate.


 (Mot. at 2).


             It appears an in camera review is unnecessary at this

 time.   During the February 19, 2010, pretrial motions hearing,

 the court directed the United States to turn over to defendant

 the Brady and Giglio material in its possession.             It was further

 suggested that counsel meet and confer concerning the documents

 remaining in issue.      Counsel are expected to do so no later than

 March 29, 2010, in an effort to narrow or resolve any remaining

 disputes and present to the court, if they wish, a proposed

 protective order pursuant to Federal Rule of Criminal Procedure

 16(d)(1) that might obviate some or all of the privacy issues

 presented.     The admissibility of any disclosed documents or


                                       12
Case 2:05-cr-00107   Document 1229   Filed 03/22/10   Page 13 of 17 PageID #: 23723



 information will be addressed at the time, if ever, that the

 materials are offered at trial.


             The court, accordingly, ORDERS that the motion for in

 camera review of records relating to Friend be, and it hereby is,

 denied without prejudice.



 E.    United States’ Motion in Limine to Exclude Any Testimony by
       a Subpoenaed Assistant United States Attorney and the
       Federal Public Defender


             The United States moves to exclude any testimony by

 Assistant United States Attorney John Frail and Federal Public

 Defender Mary Lou Newberger, both of whom have been subpoenaed by

 defendant.     The United States asserts that the testimony is

 irrelevant.     Some factual background is necessary.


             On January 19, 2005, Assistant United States Attorney

 John Frail opened an investigation of defendant based upon the

 suspicion that he was engaged in the illegal sale of cocaine.

 AUSA Frail remained responsible for the matter until March 17,

 2005.   On February 16, 2005, following a search of defendant’s

 Pizza Plus restaurant, he agreed to cooperate with law

 enforcement in the investigation of other matters.              On March 14,

 2005, Carla Collins, at the request of and on behalf of


                                       13
Case 2:05-cr-00107   Document 1229   Filed 03/22/10   Page 14 of 17 PageID #: 23724



 defendant, signed a confidential informant agreement to likewise

 assist in other investigations.         On March 17, 2005, the matter

 was transferred to AUSA Karen Schommer5, who was responsible for

 the case until July 18, 2005.


             During defendant’s first trial, Task Force Agent Andy

 Perdue testified that he and other agents learned that defendant

 was still dealing in cocaine following the execution of the

 search warrant at the Pizza Plus on February 16, 2005.               Agent

 Perdue testified that, after confronting defendant with this

 information in late March or early April of 2005, defendant

 insisted that he be allowed to sell cocaine to maintain his

 credibility in the drug community. After expressing his further

 desire, according to Agent Perdue, that he also be permitted to

 carry a firearm, Agent Perdue advised that he could no longer

 work with him.      Agent Perdue also stated that he would contact

 the United States Attorney’s Office, in particular AUSA Frail,

 apparently to disclose his decision to no longer use defendant in

 an investigatory fashion.       Agent Perdue did not document the

 conversation with defendant, nor did he document the call that he

 putatively made to AUSA Frail.




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       While AUSA Schommer is not named in the motion, the United
 States advised at the February 19, 2010, hearing that it is
 seeking an order to bar her testimony as well.

                                       14
Case 2:05-cr-00107   Document 1229   Filed 03/22/10   Page 15 of 17 PageID #: 23725



             Defendant now seeks to call AUSA Frail to testify

 essentially as follows:

       That he has no recollection of any communication from
       law enforcement regarding defendant’s status as an
       informant.

       That he would not generally receive updates from law
       enforcement regarding an informant’s ongoing
       cooperation.

       That, if there were problems associated with an
       informant, he would likely receive a law enforcement
       contact and pass that information along to the
       informant’s attorney.

       If an informant’s cooperation was terminated, AUSA
       Frail would then pursue a plea.


             It appears that defendant seeks to call AUSA Schommer

 as well, who may testify similarly, although the United States

 appears to contend otherwise.6        Defendant further proposes to

 call his former counsel, Ms. Newberger, to testify that she never

 received any contact from AUSA Frail or any other federal

 prosecutor that defendant’s informant status had been terminated.


             Defendant offers a lengthy recitation concerning why

 the aforementioned testimony is relevant.            First, defendant

 asserts that he and Ms. Collins worked closely together and

       6
       At the February 19, 2010, pretrial motions hearing, the
 United States suggested that AUSA Schommer would testify that she
 does not recall the specific method of contact, but does remember
 being contacted by law enforcement and told that defendant was
 engaging in the sale of controlled substances and would not be
 used as an informant any longer.

                                       15
Case 2:05-cr-00107   Document 1229   Filed 03/22/10   Page 16 of 17 PageID #: 23726



 shared common goals inconsistent with the view that he wished to

 procure her murder.      He asserts the only testimony supporting a

 claim that defendant was terminated as an informant, based upon

 Ms. Collins’ statement to Agent Perdue that defendant was still

 dealing in cocaine, is from Agent Perdue.            Defendant notes,

 however, that (1) there is no documentary evidence from law

 enforcement noting defendant’s termination as an informant,

 despite well documented and meticulous records of other matters

 relating to the investigation, (2) AUSAs Frail and Schommer would

 testify that they do not recall being informed that defendant was

 being terminated as an informant, (3) Ms. Newberger will testify

 that she was never contacted by the United States and advised

 that defendant was being terminated as an informant, and (4) if

 defendant was terminated as an informant in late March or early

 April 2005, one would not expect his arrest to have been delayed,

 as it was, until May 3, 2005.7


             The United States asserts that AUSA Frail’s

 recollection is irrelevant inasmuch as he no longer was

 responsible for the matter at the time in March or April 2005

 that Agent Perdue might have contacted him.            This does not

 account for the possibility that Agent Perdue did not know of the


       7
       Defendant asserts that the arrest was prompted by a
 complaint from Michael Looney on May 2, 2005, that defendant had
 threatened him for serving as an informant.

                                       16
Case 2:05-cr-00107   Document 1229   Filed 03/22/10   Page 17 of 17 PageID #: 23727



 reassignment of the case to AUSA Schommer.            In any event, the

 United States’ contention, and the balance of its assertions, are

 more appropriate for cross examination rather than outright

 exclusion of the challenged testimony.


             Based upon the foregoing discussion, the proposed

 testimony of AUSAs Frail and Schommer and FPD Newberger tend to

 make the existence of defendant’s defense concerning Agent Perdue

 more probable than it would be without the evidence.              F.R.E. 401;

 United States v. Basham, 561 F.3d 302, 332 (4th Cir. 2009)

 (“[R]elevance typically presents a low barrier to admissibility.”

 Thus, evidence is relevant if it is “worth consideration by the

 jury” or has a “plus value.”) (quoting United States v.

 Leftenant, 341 F.3d 338, 346 (4th Cir. 2003) (other citations and

 internal quotation marks omitted)).          Neither does the proposed

 testimony appear to offend Rule 403.          The court, accordingly,

 ORDERS that the United States’ motion in limine to exclude any

 testimony by a subpoenaed Assistant United States Attorney and

 the Federal Public Defender be, and it hereby is, denied.


             The Clerk is directed to forward copies of this written

 opinion and order to the defendant and all counsel of record.

                                            DATED:    March 22, 2010


                                            John T. Copenhaver, Jr.
                                            United States District Judge

                                       17
